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                     EXHIBIT 5
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                                                                     CityPlace II, 185 Asylum Street | Suite 610
                                                                                     Hartford, Connecticut 06103
                                                                         Tel 860-740-1355 | Fax 860-740-1394




                                                                                               SAMI ASAAD
                                                                                               860-740-1357
                                                                                     sasaad@fordharrison.com


                                            June 22, 2022

  VIA EMAIL (shem15418@gmail.com)

  Benzor Shem Vidal
  1353 Saint Marks Ave
  Brooklyn, NY 11233

         Re:     Your Employment Agreement with Advanced Care Staffing

  Dear Mr. Vidal:

          We are attorneys for Advanced Care Staffing, Inc. (“Advanced Care”), and we write to
  you in regard to your resignation letter dated June 15, 2022.

         As you know, you entered into an Employment Agreement with Advanced Care on May
  8, 2019, which was amended and restated in an Amended and Restated Employment Agreement
  dated January 4, 2022 (the “Agreement”). Advanced Care agreed to sponsor your petition to
  work in the United States as a Nurse under an employment based Immigrant (“green card”) Visa.
  Advanced Care also agreed to pay (or reimburse) all the fees in connection with your
  sponsorship, including, among other things, immigration and credentialing fees. In exchange,
  you agreed to provide services to Advanced Care in the U.S. for a period of three years.

          Advanced Care fulfilled its obligations to you and successfully sponsored your green
  card. Advanced Care invested thousands of dollars in getting you to this point. In addition to the
  sponsorship, Advanced Care provided you with two thousand dollars for housing plus several
  hundred dollars for groceries (gift cards) and transportation. Additionally, Advanced Care paid
  you an hourly rate that was higher than what was promised to pay according to the Agreement.
  All of this was done because you had promised to complete a three-year term. Yet, following
  your arrival in the U.S. on the Advanced-Care-sponsored visa, you submitted your resignation
  after only three months.

          Your resignation prior to the conclusion of the three-year term causes Advanced Care
  significant damages. Therefore, in the event you proceed with your resignation, Advanced Care
  would seek to be made whole as to the benefit of the bargain it made with you. Although
  Advanced Care’s damages would ultimately be determined by an arbitrator pursuant to the
  Agreement, Advanced Care will present evidence demonstrating that its damages are at least
  $20,000 (not counting attorney’s fees and costs that would be incurred in the arbitration). As
  mentioned already, Advanced Care would seek the thousands of dollars of lost investment made
  in helping you get to this point. Also, although Advanced Care is seeking to reduce its losses by
  seeking a replacement, given the current market conditions, recruiting and hiring a replacement



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  Benzor Shem Vidal
  June 22, 2022



  nurse(s) is expected to cost over $9,000 dollars per year over the remainder of your three-year
  term.

          When you signed the Agreement, you acknowledged that resigning without Good Reason
  prior to completion of your promised term would cause Advanced Care to suffer damages.
  Section 10(a)(1) of the Agreement states:

                 Employee acknowledges that if Employee fails to fulfill Employee’s
                 obligations under this Agreement, Employer will suffer significant
                 harm arising from the significant investment related to the
                 recruitment, training, credentialing, and placement in the United
                 States and the reasonable expectation that Employee will maintain
                 full-time employment with Employer for the maximum amount of
                 time under this Agreement. In addition, Employee recognizes that
                 Employer will suffer significant loss of profits (reflecting not only
                 loss of anticipated profits under this Agreement but also resulting
                 from the impact on Employer’s relationship with its Clients) in the
                 event Employee fails to fulfill Employee’s obligations under this
                 Agreement. Therefore, the parties agree that if Employee terminates
                 this Agreement without Good Reason (as defined below), or if
                 Employer terminates this Agreement for Cause (as defined below),
                 Employer shall be entitled to all damages and other relief to redress
                 the harm caused by the failure of Employee to fulfill Employee’s
                 obligations under this Agreement.

         In addition, Section 14 of the Agreement provides that “Employee shall reimburse
  Employer for all reasonable costs, including all attorneys’ fees, that Employer incurs in
  enforcing its rights and remedies under this Agreement.”

          Without waiver of any of Advanced Care’s rights, we invite you to reconsider your
  course of action and honor your promise to complete the contractual term. Alternatively, if you
  intend to proceed with your resignation and wish to discuss a pre-arbitration resolution, please
  contact me at my direct line: 860-740-1357.

        If we do not hear from you on or before June 29, 2022, we will proceed accordingly, with
  Advanced Care reserving the right to pursue all available legal remedies.

                                               Very truly yours,



                                               Sami Asaad




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